                 Case 4:18-cv-06753-PJH    Document 449       Filed 12/18/24    Page 1 of 4

                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000                               FILED
Molly C. Dwyer
Clerk of Court                                                                          DEC 17 2024
                                                                                    MOLLY C. DWYER, CLERK
                                                                                     U.S. COURT OF APPEALS

                                       DOCKETING NOTICE


       Docket Number:           24-7599
       Originating Case Number: 4:18-cv-06753-PJH

       Short Title:                  Sostack, et al. v. Ripple Labs, Inc., et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
      involving an organizational victim; or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
        Case 4:18-cv-06753-PJH    Document 449   Filed 12/18/24   Page 2 of 4

Please read the enclosed materials carefully.
                 Case 4:18-cv-06753-PJH     Document 449      Filed 12/18/24    Page 3 of 4

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                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-7599
        Originating Case Number: 4:18-cv-06753-PJH

        Case Title:                  Sostack, et al. v. Ripple Labs, Inc., et al.



        Monday, December 23, 2024
        Bradley Sostack                                       Mediation Questionnaire due

        Tuesday, December 31, 2024
        Bradley Sostack                                       Appeal Transcript Order Due

        Thursday, January 30, 2025
        Bradley Sostack                                       Appeal Transcript Due

        Thursday, March 6, 2025
        Bradley Sostack                                       Appeal Opening Brief Due

        Monday, April 7, 2025
        Ripple Labs, Inc.                                     Appeal Answering Brief Due
        XRP II, LLC                                           Appeal Answering Brief Due
        Bradley Garlinghouse                                  Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
         Case 4:18-cv-06753-PJH     Document 449    Filed 12/18/24   Page 4 of 4

The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
